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                            UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                        ORLANDO DIVISION

   TGO REALTY, INC.,

                          Plaintiff,

   v.                                                          Case No: 6:18-cv-1026-Orl-31DCI

   DAVID GLOVER, FLAG AGENCY, INC.
   and PATRICK F. CONNER,

                          Defendants.


                                                 ORDER
          Upon consideration of the removing parties’ response (Doc. 15) to the Order to Show

   Cause regarding jurisdiction (Doc. 13), it is hereby

          ORDERED that the Order to Show Cause is DISCHARGED, and this matter is

   REMANDED to the Circuit Court of the 18th Judicial Circuit, in and for Brevard County,

   Florida. The Clerk is directed to terminate all pending motions and close the file.

          DONE and ORDERED in Chambers, Orlando, Florida on July 13, 2018.




   Copies furnished to:

   Counsel of Record
   Unrepresented Party
